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                                    UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
                    MASIMO CORPORATION,                         CASE NO. 8:20-cv-00048-JVS (JDEx)
           19       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,                APPLE’S REQUEST TO FILE A ONE-
           20       a Delaware corporation,                     PAGE SUR-REPLY REGARDING
                                                                PLAINTIFFS’ REPLY IN SUPPORT
           21                          Plaintiffs,              OF MOTION TO MODIFY
                                                                PREVIOUS RULINGS ON MOTIONS
           22             v.                                    IN LIMINE (DKT. 2143)
           23       APPLE INC.,
                    a California corporation,
           24                                                   Pre-Trial Conference: Oct. 28, 2024
                                       Defendant.               Trial: Nov. 5, 2024
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Wilmer Cutler
Pickering Hale          APPLE’S REQUEST TO FILE SUR-REPLY RE: PLAINTIFFS’ REPLY ISO MOT. TO MODIFY MIL RULINGS
and Dorr LLP
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Wilmer Cutler
Pickering Hale          APPLE’S REQUEST TO FILE SUR-REPLY RE: PLAINTIFFS’ REPLY ISO MOT. TO MODIFY MIL RULINGS
and Dorr LLP
                                                                             CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2145 Filed 10/14/24         Page 3 of 5 Page ID
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             1            Apple respectfully requests leave to file a one-page sur-reply brief responding to
             2      Plaintiffs’ improper about-face regarding their request for a bench trial.
             3             On August 22, 2024, Plaintiffs filed a document entitled “Notice of Masimo’s
             4      Consent to November 5, 2024 Bench Trial,” which purported to abandon all legal claims
             5      and remedies in an attempt to ensure that the retrial on the trade secret and patent
             6      inventorship/ownership claims would not be heard by a jury. Dkt 2076. This Court
             7      subsequently ordered (1) Plaintiffs to “identify all claims it intends to pursue and …
             8      formally withdraw all claims it no longer intends to pursue” and (2) the parties to file a
             9      joint report regarding any remaining disputes over the propriety of a bench trial. Dkt.
           10       2089 at 3. The parties’ joint report identified several disputed issues, including whether
           11       Plaintiffs could avoid a jury trial if they retained their right to appeal this Court’s
           12       decision striking their lost profits theory. See Dkt. 2100 at 3-4, 9. At a subsequent
           13       hearing, Plaintiffs’ lead counsel voluntarily waived the right to appeal the lost profits
           14       decision if it would “seal[] the deal” in ensuring a bench trial. Dkt. 2143-6 at 32. This
           15       Court’s subsequent decision ordering a bench trial accepted this waiver, as it did not
           16       address Apple’s lost profits argument. See generally Dkt. 2133.
           17             In Plaintiffs’ reply in support of their motion to modify this Court’s prior MIL
           18       ruling, however, Plaintiffs now argue that there was no waiver (an argument that
           19       Plaintiffs have since also inserted into the draft pre-trial conference order that the parties
           20       are negotiating). Under these circumstances, Apple submits that a one-page sur-reply is
           21       necessary to address this new argument, which has significant implications for whether
           22       this case can go forward as a bench trial. Cf. Dkts. 1921, 1922 (order granting Apple’s
           23       request to file a two-page reply); Dkts. 2086, 2089 (order granting Apple’s request to
           24       file a three-page reply). Apple’s proposed sur-reply is attached as Exhibit A to this
           25       request.
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                     APPLE’S REQUEST TO FILE SUR-REPLY RE: PLAINTIFFS’ REPLY ISO MOT. TO MODIFY MIL RULINGS
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and Dorr LLP
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             1      Dated: October 14, 2024                Respectfully submitted,
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Wilmer Cutler
                     APPLE’S REQUEST TO FILE SUR-REPLY RE: PLAINTIFFS’ REPLY ISO MOT. TO MODIFY MIL RULINGS
Pickering Hale                                                              CASE NO. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
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                                                     #:182909

             1                              CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple Inc. certifies that this
             3      brief contains 328 words, which [choose one]:
             4             X complies with the word limit of L.R. 11-6.1
             5                complies with the word limit set by court order dated [date].
             6
             7      Dated: October 14, 2024                Respectfully submitted,
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                     APPLE’S REQUEST TO FILE SUR-REPLY RE: PLAINTIFFS’ REPLY ISO MOT. TO MODIFY MIL RULINGS
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